                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:08CR134-RJC

UNITED STATES OF AMERICA             )
                                     )
               v.                    )                                 ORDER
                                     )
ALEJANDRO ENRIQUE RAMIREZ            )
UMANA,                               )
      a/k/a “Wizard”                 )
            “Lobo”                   )
                                     )
                    Defendant.       )
_____________________________________)

       THIS MATTER is before the Court on the “Defendant’s Motion to Restrict the Admission

of Victim Impact Evidence” (Doc. No. 497) filed May 5, 2009; the government’s Response (Doc.

No. 504) filed May 8, 2009; and the defendant’s “Motion to Strike the Non-Statutory Aggravating

Factor Relating to Victim ‘Friend’ Impact Evidence” (Doc. No. 963) filed April 1, 2010. For the

reasons stated below, the Court DENIES each of the defendant’s motions.

I.     BACKGROUND

       The defendant is charged in a Superseding Indictment with multiple federal offenses arising

out of his alleged affiliation with La Mara Salvatrucha, also known as the MS-13 gang (hereafter

“MS-13"). Count 1 of the Indictment charges the defendant with a RICO conspiracy, in violation

of 18 U.S.C. § 1962(d). As an overt act in furtherance of this conspiracy, the Indictment alleges that

on December 8, 2007, the defendant murdered two individuals, Ruben Garcia Salinas and Manuel

Garcia Salinas, in a restaurant in Greensboro, North Carolina. These murders are also charged

separately in Counts 22 and 24 of the Indictment as murder in aid of racketeering, in violation of 18

U.S.C. § 1959(a)(1), and in Counts 23 and 25 as use of a firearm during and in relation to a crime


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of violence resulting in death, in violation of 18 U.S.C. § 924(j). In the event the defendant is found

guilty of Counts 22, 23, 24, or 25, the government has filed a Notice of Intention to Seek the Death

Penalty (Doc. No. 275), as required by the Federal Death Penalty Act (“FDPA”), 18 U.S.C. § 3591

et seq. In its Notice, the government lists several aggravating factors it contends justify a sentence

of death, including the following allegation of victim impact:

        As demonstrated by the victim’s personal characteristics as an individual human
        being and the impact of the death upon the victim and the victim’s family and
        friends, the defendant caused injury, harm, and loss to the Ruben Garcia Salinas
        family and friends.

(Doc. No. 275 at 3).1 The defendant moves to strike reference to “friends” from the government’s

Notice and exclude all subsequent victim impact evidence from friends of the victims. Moreover,

the defendant seeks to further limit the government’s victim impact evidence to one adult family

member of each victim reading a prepared statement approved by the Court. The defendant also

moves to have the Court admonish these witnesses that they will not be allowed to testify if they are

unable to control their emotions, and that they may not give an opinion about the defendant, the

crime, or the appropriate sentence.

II.     LEGAL FRAMEWORK

        The FDPA authorizes the government to offer victim impact evidence during the sentencing

phase of a capital trial. 18 U.S.C. § 3593(a). Admission of such evidence does not violate the

defendant’s constitutional rights because “evidence about the victim and about the impact of the

murder on the victim’s family is relevant to the jury’s decision as to whether or not the death penalty

should be imposed.” Payne v. Tennessee, 501 U.S. 808, 827 (1991). In this sense, it is no different



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         Victim impact is also restated with respect to the other murder victim, Manuel Garcia
Salinas. (Doc. No. 275 at 6).

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from other types of relevant evidence. Id. Victim impact evidence is subject to exclusion under the

defendant’s right to due process only when it is so unduly prejudicial that its admission would render

the defendant’s trial fundamentally unfair. Id. at 825.

III.     DISCUSSION

         A.     Victim Impact Evidence Offered by Friends

         The defendant moves to strike from the government’s Notice and subsequently exclude

victim impact evidence offered by friends of the alleged victims. In support, the defendant argues

that by referring only to evidence of loss “suffered by the victim and the victim’s family,” 18 U.S.C.

§ 3593(a), the FDPA implies that friends of the victim may not offer victim impact evidence.

Moreover, the defendant argues that allowing friends of a victim to offer victim impact evidence

would raise “serious constitutional questions.” (Doc. No. 963 at 3). To avoid this constitutional

issue, the defendant reasons, the Court should construe the FDPA as allowing victim impact offered

by family members only.

         The defendant’s preferred construction of § 3593(a) is based upon the legal principle of

expressio unius est exclusio alterius, meaning “that the express designation of one thing may

properly be construed to mean the exclusion of another.” Volvo Trademark Holding Aktiebolaget

v. Clark Mach. Co., 510 F.3d 474, 483 (4th Cir. 2007) (quoting Volvo Trademark Aktiebolaget v.

AIS Constr. Equip. Corp., 416 F. Supp. 2d 404, 411 (W.D.N.C. 2006)). Reading the provision in its

entirety, however, renders this principle of construction inapplicable. Section 3593(a) is open-ended,

allowing the government to give notice of “any other relevant information” that forms the basis for

an aggravating circumstance. Given this “catch-all” provision, it would be unreasonable to conclude

that by failing to explicitly mention friends of the victim, Congress intended to prohibit victim

impact evidence offered by friends. See United States v. Barrett, 496 F.3d 1079, 1098-99 (10th Cir.

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2007) (holding that the phrase “any other relevant information” in § 3593(a) “clearly suggests” that

Congress intended to permit victim impact evidence from friends and colleagues).

           Nor would allowing such evidence implicate the defendant’s constitutional rights. As the

United States Supreme Court articulated in Payne, victim impact evidence is designed to reveal the

victim’s “uniqueness as an individual human being,” 501 U.S. at 823, “whose death represents a

unique loss to society and in particular to his family.” Id. at 825 (quoting Booth v. Maryland, 482

U.S. 496, 517 (White, J., dissenting)). Although Payne identifies the family as a particularly

important source of victim impact evidence, it does not limit family as the exclusive source of such

evidence. To the contrary, victim impact evidence offered by friends appropriately demonstrates the

loss to society caused by the victim’s death. See United States v. Runyon, 667 F. Supp. 2d 648, 650

(E.D.Va. 2009) (finding it “clear that the impact that the victim’s murder had on his friends and

shipmates falls within the ambit of appropriate [victim impact] evidence”); see also United States

v. Williams, No. CR-05-920, 2008 WL 4644830, at *7 (C.D. Cal. Oct. 15, 2008) (unpublished)

(denying a defendant’s motion to exclude victim impact evidence offered by non-family members).

Because it is authorized by the FDPA and consistent with his constitutional rights, the Court denies

the defendant’s motion to strike and exclude victim impact evidence offered by friends of the

victims.

       B.        Limitations on Victim Impact Evidence

       The defendant next moves to limit the government’s victim impact evidence to one witness

per victim, reading a prepared statement approved by the Court. Moreover, the defendant asks the

Court to admonish these witnesses prior to testifying to control their emotions and refrain from

giving an opinion about the defendant, the crime, or the appropriate sentence. The defendant argues

that without these restrictions, the victim impact evidence is likely to be so unduly prejudicial that

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it would render his trial fundamentally unfair. Payne, 501 U.S. at 825.

       Allowing only two victim impact witnesses and limiting their testimony to reading a

prepared statement would unreasonably exceed the safeguards required by the defendant’s right to

due process. In United States v. Barnette, 211 F.3d 803 (4th Cir. 2000) (affirming in part, vacating

in part, and remanding for re-sentencing on other grounds), the Fourth Circuit considered a

defendant’s due process challenge to victim impact testimony given by seven witnesses who

“presented stories of the victims’ childhoods, family experiences, and the trauma of their deaths, and

poems reflecting their deep sadness and regret over their losses.” Id. at 818. This testimony

comprised roughly 22% of the government’s evidence during the sentencing phase of the trial. Id.

Noting that Payne supported an expansive presentation of loss caused by the victim’s death, and that

the defendant had offered comparable evidence in mitigation, the Fourth Circuit found no violation

of due process. Id. at 818-19. Other courts have reached the same conclusion upon similar facts. See,

e.g., United States v. Bolden, 545 F.3d 609, 625-26 (8th Cir. 2008) (upholding victim impact

testimony from sixteen witnesses, comprising 80% of the government’s penalty phase case-in-

chief); Barett, 496 F.3d at 1098-99 (upholding the admission of victim impact testimony from

several family and friends concerning the victim’s life and the impact caused by his death). In fact,

the Court is aware of no case where the victim impact evidence presented was so cumulative or

inflammatory that it resulted in a violation of due process.

       This precedent makes clear that whatever limit due process may place upon the quantity and

scope of victim impact evidence, it does not require the prospective limits the defendant seeks.

Accordingly, the Court denies the defendants motion to limit the government’s victim impact

evidence to prepared statements read by one adult family member of each victim.

        Finally, with respect to the admonishments requested by the defendant, the Court finds no

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need to issue them at this time. In its response, the government recognizes that victim impact

testimony giving an opinion of the defendant, the crime, or the appropriate punishment would be

improper, and the government will advise its witnesses against making such statements. (Doc. No.

504 at 6). And if the Court finds it necessary to instruct a witness to control his or her emotions, the

proper time for such an instruction would be during the witness’s testimony. A peremptory warning

is not required although the Court is confident the government will advise its witnesses concerning

the importance of controlling their emotions.

IV.     CONCLUSION

        IT IS, THEREFORE, ORDERED that the “Defendant’s Motion to Restrict the Admission

of Victim Impact Evidence” (Doc. No. 497) and the defendant’s “Motion to Strike the Non-Statutory

Aggravating Factor Relating to Victim ‘Friend’ Impact Evidence” (Doc. No. 963) are DENIED.

                                                   Signed: April 19, 2010




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